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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
  UNITED STATES, et al.,                  )
                                          )
                         Plaintiffs,      )
         v.                               )      No. 1:23-cv-00108-LMB-JFA
                                          )
  GOOGLE LLC,                             )
                                          )
                         Defendant.       )


                                 WAIVER OF ORAL ARGUMENT

         PLEASE TAKE NOTICE that Plaintiffs waive oral argument on their Unopposed Motion

  to Amend Plaintiffs’ Exhibit List.



  Dated: July 23, 2024



  Respectfully submitted,



  (Signatures on the following page)
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